       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 1 of 13




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP.,
SMARTMATIC HOLDING B.V., AND
SGO CORPORATION LIMITED,
                                                    No. 1:21-cv-02900-CJN
                    Plaintiffs
       v.

HERRING NETWORKS, INC., D/B/A
ONE AMERICA NEWS NETWORK,

                    Defendant

      INDEX OF EXHIBITS IN APPENDIX TO STATEMENT OF UNCONTESTED
                             MATERIAL FACTS

             App.
Exhibit                                               Description
            Page No.
A           APP1          Declaration of Kevin Kunec dated December 7, 2023
A-1         APP10         11/12/2020 Broadcast of After Hours with Alex Salvi Transcript
A-2         APP30         11/16/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-3         APP55         11/17/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-4         APP72         11/19/2020 Broadcast of Real America with Dan Ball Transcript
A-5         APP85         11/20/2020 6AM Broadcast Transcript
A-6         APP95         11/20/2020 3PM Broadcast Transcript
A-7         APP104        11/20/2020 Broadcast of In Focus with Stephanie Hamill Transcript
A-8         APP123        11/20/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-9         APP145        11/18/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-10        APP154        11/23/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-11        APP186        11/27/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-12        APP200        12/01/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-13        APP220        12/03/2020 Broadcast of In Focus with Stephanie Hamill Transcript
A-14        APP239        12/07/2020 Broadcast of Tipping Point with Kara McKinney Transcript
A-15        APP251        02/05/2021 Broadcast of Interview with Michael Lindell Transcript
A-16        APP262        02/05/2021 Airing of Michael Lindell Broadcast, Absolute Proof
                          Transcript


                                                1
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 2 of 13




           App.
Exhibit                                          Description
          Page No.
A-17      APP408     02/11/2021 Broadcast of Interview with Michael Lindell by Steve
                     Bannon Transcript
A-18      APP631     04/03-04/2021 Airing of Michael Lindell Broadcast, Scientific Proof
                     Transcript
A-19      APP739     04/22/2021 Airing of Michael Lindell Broadcast, Absolute Interference
                     Transcript
A-20      APP912     05/03/2021 Broadcast of Interview with Michael Lindell Transcript
                                  [Exhibit 21 omitted]
A-22      APP942     06/05-06/2021 Airing of Michael Lindell Broadcast, Absolutely 9-0
                     Transcript
B         APP972     Declaration of Daniel Ball dated December 5, 2023
C         APP977     Declaration of Michael Dinow dated December 5, 2023
D         APP980     Declaration of Glenn A. Chong dated December 6, 2023
D-1       APP997     PCOS 7805002 Audit Log, Print Log, and Minutes and Log Sheet
D-2       APP1011    COMELEC Ballot with Digital Line
D-3       APP1014    HRET Decrypted Ballot Image and Vote Summary
D-4       APP1017    HRET Revision Team No. 9 Report
D-5       APP1025    COMELEC Resolution E.M. No. 23-003
E         APP1049    Declaration of John Hines dated December 6, 2023
F         APP1054    Declaration of Stephanie Myers dated December 6, 2023
G         APP1057    Declaration of Stephanie Hamill dated December 7, 2023
G-1       APP1061    11/20/2020 Broadcast Segment of In Focus with Stephanie Hamill
                     Transcript
G-2       APP1080    12/03/2020 Broadcast Segment of In Focus with Stephanie Hamill
                     Transcript
H         APP1099    Declaration of Alexander M. Salvi dated December 7, 2023
H-1       APP1104    11/12/2020 Broadcast Segment of After Hours with Alex Salvi
                     Transcript
H-2       APP1124    11/09/2020 Washington Examiner Article, “Officials raised concerns
                     for years about security of US voting machines, software systems”
H-3       APP1130    New York Times Article, “No, Dominion voting machines did not cause
                     widespread voting problems.”




                                           2
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 3 of 13




           App.
Exhibit                                             Description
          Page No.
H-4       APP1136    10/01/2020 Associated Press Article, “Laptop, USB drives stolen from
                     Philly election-staging site”
H-5       APP1153    2016 Fox News Video Segment (Professor demonstrates how to hack a
                     voting machine)
I         APP1154    Declaration of Robert Herring Jr. dated December 7, 2023
J         APP1161    Declaration of Pearson Sharp dated December 7, 2023
K         APP1164    Declaration of Kara McKinney dated December 7, 2023
K-1       APP1185    11/15/2020 Washington Examiner Article, “Trump attorney Sidney
                     Powell says they are ‘fixing to overturn the results of the election in
                     several states’”
K-2       APP1189    Washington Examiner Article Video (Sidney Powell_ We’re Fixing to
                     Overturn the Results of the Election in Several States)
K-3       APP1190    11/09/2020 Washington Examiner Article, “Officials raised concerns
                     for years about security of US voting machines, software systems”
K-4       APP1196    11/12/2020 Blaze Media Article, “Joe Biden’s new chief of staff,
                     Ronald Klain, in 2014 said elections are ‘rigged’”
K-5       APP1202    12/06/2019 Senators Warren, Klobuchar, Wyden, and U.S. Rep. Pocan
                     Letters
K-6       APP1218    11/16/2020 American Greatness Article by Debra Heine, “Trump
                     Lawyers Powell and Giuliani Claim ‘Massive’ Vote Rigging by
                     Dominion, Allege Company Link to Antifa”
K-7       APP1233    2017 Associated Press Video (Election Company_Venezuela Result
                     was Tampered)
K-8       APP1234    11/14/2020 New York Times Article, “Giuliani adds fuel to discredited
                     theories about voting machines”
K-9       APP1237    11/16/2020 Elections Canada Tweet
K-10      APP1274    11/17/2020 Daily Wire Article, “Race in Nevada County Rejected for
                     Certification Over Ballot ‘Discrepancies’ That We Can’t Explain”
K-11      APP1283    11/17/2020 Daily Wire Article, “Trump Gets Nearly Twice As Many
                     Votes As Biden Out of 2,600 Ballots Found In Georgia, Calls Grow
                     For Election Official to Resign”
K-12      APP1291    11/16/2020 Gateway Pundit Article, “Denver Business Owner:
                     Dominion’s Eric Coomer Is an Unhinged Sociopath—His Internet
                     Profile Is Being Deleted and Erased (AUDIO)”




                                             3
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 4 of 13




           App.
Exhibit                                          Description
          Page No.
K-13      APP1311    11/19/2020 American Greatness Article, “Giuliani Scorches Media for
                     Censoring Mounting Evidence of Election Fraud And Condoning
                     Threats Against Lawyers and Witnesses”
K-14      APP1323    10/30/2018 Associated Press Article, “US election integrity depends on
                     security-challenged firms”
K-15      APP1336    05/01/2013 Order from Smartmatic Int’l Corp. v. Dominion Voting Sys.
                     Int’l Corp., C.A. No. 7844-VCP
K-16      APP1380    11/08/2007 Rep. Maloney Press Release, “Smartmatic Announces Sale
                     of Sequoia Voting Systems”
K-17      APP1384    11/13/2020 Kyle Becker Tweet
K-18      APP1387    2015 ABS-CBN Video (Smartmatic denies being favored by
                     COMELEC)
K-19      APP1388    11/16/2020 Newsweek Article, “Fact Check: Have Senior Democrats
                     Raised Concerns About the Smartmatic Voting Software, as Trump’s
                     Lawyer Claims”
K-20      APP1402    11/20/2020 Daily Wire Article, “Lawyer Working With Sidney Powell:
                     Tucker Carlson Needs To ‘Stop Harassing’ Powell To Give Evidence
                     To Back Claims”
K-21      APP1411    11/19/2020 Breitbart Article, “Obama: ‘No Actual Evidence’ Anything
                     Illegal, Fraudulent Took Place in Election—Trump Has Shown ‘Flimsy
                     Relationship’ to the Truth”
K-22      APP1418    11/20/2020 American Greatness Article, “Dominion Voting Systems
                     ‘Lawyers Up,’ Abruptly Backs Out of PA State House Fact-Finding
                     Hearing”
K-23      APP1427    11/15/2020 Kyle Becker Tweet
K-24      APP1431    11/13/2020 Kyle Becker Tweet
K-25      APP1435    11/19/2020 Press Conference by President Trump’s Campaign (live-
                     legal-advisor-giuliani-heads-trump-campaign-news-conference)
K-26      APP1436    10/27/2017 Associated Press Article, “APNewsBreak: Georgia election
                     server wiped after suit filed”
K-27      APP1453    11/22/2020 American Greatness Article, “Simplest Source of Voter
                     Fraud is Baked Into the System”
K-28      APP1462    11/22/2020 American Greatness Article, “Fraud, Evidence, Proof,
                     Power”




                                            4
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 5 of 13




           App.
Exhibit                                           Description
          Page No.
K-29      APP1470    11/17/2020 American Greatness Article, “Sworn Affidavit from High-
                     Ranking Military Officer Claims Smartmatic Was Designed to Change
                     Votes Without Being Detected”
K-30      APP1478    11/20/2020 CNN Article, “Fact-checking Giuliani and the Trump legal
                     team’s wild, fact-free press conference”
K-31      APP1492    11/30/2020 American Greatness Article, “The Badger State’s Ballot
                     ‘Fix’ Was In”
K-32      APP1501    11/30/2020 American Greatness Article, “Mathematician Says Biden
                     May have Received 130 Percent of the Democrat Vote in Maricopa
                     County, AZ”
K-33      APP1509    12/01/2020 The Post Millennial Article, “WATCH: Michigan witness
                     testifies that military ballots looked like photocopies with ZERO votes
                     for Trump”
K-34      APP1515    12/01/2020 Townhall Article, “What Do Democrats Think About the
                     Integrity of the Election? One Poll Shows Surprising Findings”
K-35      APP1523    11/30/2020 The American Spectator Article, “Legitimacy of Biden
                     Win Buried by Objective Data”
K-36      APP1582    The National Pulse Article, “DATA: Michigan Analysis Suggests
                     Absentee Votes ‘Manipulated By Computer’, Flags Hundreds of
                     Thousands of Ballots”
K-37      APP1588    The National Pulse Article, “WATCH: Soros-Linked Smartmatic
                     Chairman Admits ‘Technology Is Licensed From Dominion’”
K-38      APP1593    The National Pulse Article, “Soros Promotes Smartmatic Chairman to
                     Open Society President”
K-39      APP1597    11/30/2020 PJ Media Article, “EXPLOSIVE: Michigan Illegally
                     Counted or Ignored 500K Ballots, Lawsuit Claims”
K-40      APP1604    11/27/2020 The Spectator Article, “Reasons why the 2020 presidential
                     election is deeply puzzling”
K-41      APP1611    12/01/2020 The National Review Article, “Trump Campaign to File
                     Lawsuit in Wisconsin, Claiming 220,000 Absentee Ballots Illegally
                     Cast”
K-42      APP1620    12/01/2020 Donald Trump Press Release, “Trump Campaign Files
                     Lawsuit in Wisconsin to Restore Election Integrity”
K-43      APP1624    12/01/2020 Mike Balsamo Tweet
K-44      APP1659    11/12/2020 President Donald Trump Tweet
K-45      APP1702    11/20/2020 Rasmussen Reports Tweet


                                            5
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 6 of 13




           App.
Exhibit                                             Description
          Page No.
K-46      APP1726    The National Pulse Article, “96% of Dominion Voting Systems
                     Political Donations Went to Democrats”
K-47      APP1731    The National Pulse Article, “REVEALED: Smartmatic Claims It
                     ‘Prohibits’ Political Donations but 86% Of Its Staff Gave To Dems”
K-48      APP1736    Smartmatic Webpage, “Smartmatic Fact-checked”
K-49      APP1741    The Post Millennial Video (Michigan Witness Says All Military
                     Ballots Looked Like Xerox Copies - Had ZERO Trump Votes)
K-50      APP1742    American Greatness Video (Dr Shiva Ayyadurai, MIT PhD Testimony
                     113020)
K-51      APP1743    WOOD-TV Video (woodtv.com_2023-11-28_12-54-54)
L         APP1744    Declaration of Christina Bobb dated December 8, 2023
M         APP1748    Declaration of Christopher Schickedanz dated December 8, 2023
M-1       APP1752    Video of Eric Bolling interviewing Sidney Powell (Bolling Interview
                     referenced by Aksalic Sidney Powell with Eric Bolling on the accuracy
                     of Dominion voting machines)
M-2       APP1753    11/14/2020 Rudy Giuliani Tweet
M-3       APP1772    Video interview of Sidney Powell by Maria Bartiromo (sidney-powell-
                     were-fixing-to-overturn-the-results-of-the-election-in-several-states)
M-4       APP1773    11/15/2020 Washington Examiner Article, “Trump attorney Sidney
                     Powell says they are ‘fixing to overturn the results of the election in
                     several states’”
M-5       APP1778    11/19/2020 Press Conference Video with Rudy Giuliani and Sidney
                     Powell (Nov. 19 press conference)
M-6       APP1779    Video of Podcast, Rudy Giuliani’s Common Sense (American-Votes-
                     Tallied-In-Foreign-Countries-Rudy-Giulianis-Common-Sense-Ep-87)
M-7       APP1780    ABS-CBN Video of Mark Malloch-Brown Interview (ABS-CBN
                     video)
M-8       APP1781    11/14/2020 Smartmatic Tweet
M-9       APP1817    11/22/2020 Gateway Pundit Article, “Smartmatic Lied: Lord Mark
                     Malloch Brown Admitted to License Agreement Between Smartmatic
                     and Dominion in 2015 Interview (VIDEO)”
M-10      APP1831    Complaint, King, et al. v. Whitmer, et al., (E.D. Mich.), Case No. 2:20-
                     cv-13134-LVP-RSW
M-11      APP1907    Complaint, Pearson, et al. v. Kemp, et al., (N.D. Ga.), Case No. 1:20-
                     cv-04809-TCB


                                             6
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 7 of 13




           App.
Exhibit                                          Description
          Page No.
M-12      APP2012    12/04/2020 George Soros Tweet
N         APP2051    Declaration of Mary Lou Flynn-DuPart dated December 8, 2023
O         APP2054    Declaration of Stephen Russo
O-1       APP2084    04/22/2017 Antonio Mugica Tweet
O-2       APP2086    10/21/2014 Smartmatic Tweet
O-3       APP2088    03/02/2020 Smartmatic Internal Email Chain, SMMT-OAN00012603–
                     04, SMMT-OAN00012611
O-4       APP2111    10/26/2016 Smartmatic Internal Email Chain, SMMT-OAN00137366–
                     67
O-5       APP2114    04/07/2016 Antonio Mugica Deposition Transcript Excerpt, SMMT-
                     OAN07880046–110
O-6       APP2120    04/07/2006 City Council of Chicago Joint Committee on Finance,
                     Committee on Budget and Government Operations, and Committee on
                     Committees, Rules and Ethics Hearing Transcript Excerpt
O-7       APP2135    08/15/2004 Smartmatic Web Page
O-8       APP2137    01/24/2000 Bizta Corporation Transmittal Letter
O-9       APP2142    09/11/2000 Smartmatic Corporation Transmittal Letter
O-10      APP2147    06/10/2016 Bob Cook Deposition Transcript Excerpt, SMMT-
                     OAN07880440–512
O-11      APP2155    10/02/2023 Jack Blaine Deposition Excerpt
O-12      APP2163    2005 Acquisition of Sequoia Voting Systems, Inc. by Smartmatic
                     International Corporation Delaware Agreement, SMMT-
                     OAN08063656–955
O-13      APP2169    03/29/2006 Smartmatic Web Page
O-14      APP2172    01/07/2010 and 01/15/2015 Christopher Butler (Internet Archive)
                     Affidavits
O-15      APP2176    12/31/2007-08 Consolidated Financial Statements for Smartmatic
                     International Group N.V. and Subsidiaries, SMMT-OAN00053512–39
O-16      APP2179    12/22/2006 Rep. Maloney Press Release
O-17      APP2181    03/31/2011 Smartmatic Internal Email Chain, SMMT-OAN01502087–
                     97
O-18      APP2193    07/18/2019 Stripe Reputation Invoice, SMMT-OAN03087486
O-19      APP2195    08/07/2017 Smartmatic Press Conference Transcript



                                           7
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 8 of 13




           App.
Exhibit                                           Description
          Page No.
O-20      APP2203    08/02/2017 Smartmatic Statement
O-21      APP2206    11/09/2020 Washington Examiner Article, “Officials raised concerns
                     for years about security of US voting machines, software systems”
O-22      APP2212    10/23/2023 Roger A. Piñate Deposition Transcript Excerpt, Smartmatic
                     USA Corp., et al. v. Newsmax Media, Inc., Case No. N21C-11-028
                     EMD
O-23      APP2216    08/16/2016 Email Chain, SMMT-OAN02569392
O-24      APP2218    08/24/2016 Email Chain with Attachments, SMMT-OAN02569395–97
O-25      APP2222    CNN Philippines Article, “Smartmatic disqualified from Comelec
                     procurements”
O-26      APP2226    Plaintiffs’ Complaint, Exhibit 46
O-27      APP2241    04/18/2023 Associated Press Article, “Fox, Dominion reach $787M
                     settlement over election claims”
O-28      APP2245    Smartmatic Web Page “Lawsuit Updates & Fact Checks”
O-29      APP2264    Plaintiffs’ Complaint, Exhibit 153
O-30      APP2268    11/10/2020 Federal News Network Article, “Meet the agency transition
                     teams for President-Elect Biden”
O-31      APP2272    Biden-Harris Transition Website
O-32      APP2276    Peter Neffenger Smartmatic USA Bio Page
O-33      APP2278    11/14/2020 Email Chain, SMMT-OAN07387916–17
O-34      APP2281    12/09/2020 YouTube Blog, “Supporting the 2020 U.S. election”
O-35      APP2291    12/09/2020 Email Chain, SMMT-OAN00165785–86
O-36      APP2294    06/02/2023 YouTube Blog, “An update on our approach to US election
                     misinformation”
O-37      APP2300    Document titled “Three prongs to restoring trust in elections” by
                     Antonio Mugica, SMMT-OAN01261586–87
O-38      APP2303    Excel Spreadsheet, SMMT-OAN02476880
O-39      APP2310    07/31/2015 Email Chain, SMMT-OAN02484507
O-40      APP2312    07/31/2015 Email Chain, SMMT-OAN03929777–78
O-41      APP2315    11/17/2015 Email Chain, SMMT-OAN03931491–92
O-42      APP2318    11/08/2019 Email Chain, SMMT-OAN04402796–808
O-43      APP2332    04/29/2020 Email Chain, SMMT-OAN04410366–77



                                            8
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 9 of 13




           App.
Exhibit                                           Description
          Page No.
O-44      APP2345    07/14/2014 Email Chain, SMMT-OAN01604829–30
O-45      APP2348    08/17/2015 Email Chain, SMMT-OAN02067740–41
O-46      APP2351    Ricardo Hausmann Study Titled “In Search of the Black Swan:
                     Analysis of the Statistical Evidence of Electoral Fraud in Venezuela”
O-47      APP2404    09/07/2004 Wall Street Journal Article, “Academics’ Study Backs
                     Fraud Claim in Chavez Election”
O-48      APP2407    05/04/2006 Rep. Maloney Letter to Department of Treasury Secretary
                     John W. Snow
O-49      APP2427    11/11/2020 Associated Press Article, “Pompeo brushes aside results of
                     presidential election”
O-50      APP2432    11/07/2020 NBC News Article, “Trump says election ‘far from over’ as
                     he vows to fight results”
O-51      APP2435    11/07/2020 NPR Article, “‘Far From Over’: Trump Refuses To
                     Concede As Biden’s Margin Of Victory Widens”
O-52      APP2440    11/10/2020 Al Jazeera Article, “Donald Trump’s US election lawsuits:
                     Where do things stand?”
O-53      APP2445    11/09/2020 Washington Post Article, “The Trump legal team’s latest
                     voter fraud Hail Mary”
O-54      APP2449    11/12/2020 USA Today Article, “Trump campaign’s challenge of
                     election results in Pennsylvania, Michigan and Arizona push US
                     toward ‘loss of democracy’”
O-55      APP2456    11/17/2020 NBC News Article, “Rudy Giuliani joins Trump
                     campaign’s sputtering legal effort in Pennsylvania”
O-56      APP2459    11/05/2020 CNN Article, “Trump stages corrosive attempt to
                     undermine votes as his path to 270 evaporates”
O-57      APP2467    11/19/2020 NBC News Article, “Rudy Giuliani alleges ‘centralized’
                     voter fraud at free-wheeling news conference”
O-58      APP2476    11/14/2020 Email Chain, SMMT-OAN00164124–26
O-59      APP2480    08/01/2023 Washington Post Article, “Tracking the Trump
                     investigations and where they stand”
O-60      APP2486    11/28/2023 CNN Article, “Trump demands thousands of classified
                     documents in his court fight to prove the 2020 election was stolen”
O-61      APP2490    11/28/2023 New York Times Article, “Trump Seeks to Use Trial to
                     Challenge Findings That 2020 Election Was Fair”




                                            9
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 10 of 13




            App.
Exhibit                                            Description
           Page No.
O-62      APP2495     10/07/2023 Washington Post Article, “Amazon’s Alexa has been
                      claiming the 2020 election was stolen”
O-63      APP2502     Excerpt from 03/20/2014 Declaration of Jack Blaine and
                      Accompanying Exhibits, In re SVS Holdings, Inc., and Sequoia Voting
                      Systems, Inc., Case No.: 14-11360 TBM (Bankr. D. Co.), Dkt. 87-2
O-64      APP2541     Criminal Complaint, United States of America v. Juan Andres Donato
                      Bautista, Case No.: 1:23-mj-03829 LOUIS (S.D. Fla.), Dkt. 1
O-65      APP2573     03/04/2020 Email Chain, SMMT-OAN00161207–11
O-66      APP2579     02/04/2020 CBS News Los Angeles Article, “Goldstein Investigation:
                      Officials Warn of ‘Vulnerabilities’ With E-Voting Machines Ahead Of
                      March 3 Primary”
O-67      APP2582     Transcript of 02/04/2020 CBS Los Angeles Article, “Goldstein
                      Investigation: Officials Warn of ‘Vulnerabilities’ With E-Voting
                      Machines Ahead Of March 3 Primary”
O-68      APP2594     03/03/2020 Politico Article, “Los Angeles County’s risky voting
                      experiment”
O-69      APP2610     12/24/2019 Freeman, Craft, McGregor Group California Secretary of
                      State Consultant’s Public Report on: Security and Telecommunications
                      Testing of the LA County VSAP 2.0 Voting System
O-70      APP2633     Antonio Mugica Smartmatic Bio Page
O-71      APP2635     Smartmatic Document, SMMT-OAN01996184–85
O-72      APP2638     2022 Smartmatic Communications Toolkit, SMMT-OAN00127507–27
O-73      APP2641     Transcript of CNN Mexico News Report
O-74      APP2650     09/13/2019 Email Chain with Attached Letter, SMMT-
                      OAN08071877–906
O-75      APP2654     Response to Motion for Stay (Dkt. 1774487) filed in Rusoro Mining
                      Limited, as Petitioner-Appellee, against Bolivarian Republic of
                      Venezuela, as Respondent-Appellant, in the United States Court of
                      Appeals for the District of Columbia Circuit, Case No. 18-7044
O-76      APP2661     02/04/2019 New York Times Article, “Who is Venezuela’s Legitimate
                      President? A Messy Dispute, Explained”
O-77      APP2665     01/10/2019 OAS Press Release, “OAS Permanent Council Agrees ‘to
                      not recognize the legitimacy of Nicolas Maduro’s new team’”
O-78      APP2667     Smartmatic Presentation, SMMT-OAN10500460–63
O-79      APP2672     09/21/2011 Email Chain, SMMT-OAN04281890–93



                                            10
       Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 11 of 13




            App.
Exhibit                                            Description
           Page No.
O-80      APP2682     Smartmatic Document, SMMT-OAN00149243–44
O-81      APP2685     05/31/2016 Email Chain, SMMT-OAN00066004–06
O-82      APP2689     11/30/2019 Email Chain with Attached 2020 PR Strategy, SMMT-
                      OAN00124101–17
O-83      APP2707     Transcript of 11/19/2020 Press Conference of Giuliani, Powell, and
                      Ellis
O-84      APP2792     11/12/2020 Fox Business airing of an interview of Rudy Giuliani on
                      Lou Dobbs Tonight
O-85      APP2793     11/19/2020 Fox 5 DC Article, “President Trump’s attorney Rudy
                      Giuliani presses election challenge case in fiery news conference”
O-86      APP2798     NBC News Article, “Justice Department’s election crimes chief resigns
                      after Barr allows prosecutors to investigate voter fraud claims”
O-87      APP2801     11/20/2020 Letter, SMMT-OAN07034300–02
O-88      APP2805     Smartmatic Presentation, SMMT-OAN07015537–52
O-89      APP2807     11/15/2023 White House Article, “President Biden Announces Key
                      Appointments to Boards and Commissions”
O-90      APP2819     10/12/2020 Email Chain, SMMT-OAN04082002–03
O-91      APP2822     07/25/2018 Email Chain, SMMT-OAN09825988–91
O-92      APP2827     04/05/2018 Email Chain, SMMT-OAN01075776–77
O-93      APP2830     12/06/2019 Senator Warren Letter to Stephen D. Owens and Hootan
                      Yaghoobzadeh
O-94      APP2836     12/02/2019 Vice President Kamala Harris Tweet
O-95      APP2839     Roger Piñate Smartmatic Bio Page
O-96      APP2841     Report and Recommendation of Ad Hoc Hearing Committee in the
                      matter of: Rudolph W. Giuliani
O-97      APP2844     Excerpt from Transcript of 04/18/2007 Congressional Hearing
O-98      APP2848     New York Times Article, “A Crucial Vote for Venezuela and a
                      Company”
O-99      APP2851     Smartmatic Document, SMMT-OAN07690483–86
O-100     APP2856     12/01/2006 Email Chain, SMMT-OAN08118715–16
O-101     APP2859     Web Page from Open Society Foundation Website
O-102     APP2862     07/18/2015 Email Chain, SMMT-OAN03929683
O-103     APP2864     02/23/2016 Email Chain, SMMT-OAN03830996


                                            11
    Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 12 of 13




           App.
Exhibit                                           Description
          Page No.
O-104     APP2866    09/29/2017 Email Chain, SMMT-OAN01150916–18
O-105     APP2870    03/01/2019 Email Chain, SMMT-OAN08132958–64
O-106     APP2878    Samira Saba Smartmatic Bio Page
O-107     APP2882    07/02/2018 lavote.gov Article, “Registrar-Recorder/County Clerk signs
                     contract with Smartmatic USA”
O-108     APP2885    Excerpt from 06/12/2018 Los Angeles County Registrar-
                     Recorder/County Clerk Board of Supervisors Correspondence
O-109     APP2890    05/12/2022 LA Times Article, “L.A. County has more people than 40
                     states, but its political power doesn’t reflect that”
O-110     APP2902    10/08/2018 Email Chain, SMMT-OAN08827454
O-111     APP2904    06/21/2010 Huffington Post Article, SMMT-OAN04275575–78
O-112     APP2909    09/27/2017 New York Times Article, “For Paper Trails in Voting”
O-113     APP2911    01/11/2008 Burke Letter, CBEC-SMARTMATIC-002608–11
O-114     APP2916    Jack Blaine Deposition Exhibit 20
O-115     APP2923    11/18/2020 New York Times Article, “Giuliani peddles election
                     conspiracy theories and falsehoods”
O-116     APP2926    11/03/2020 New York Times Article, “Watch Out for This
                     Misinformation on Election Day”
O-117     APP2931    University of Pennsylvania, Penn Wharton publication titled “The
                     Business of Voting: Market Structure and Innovation in the Election
                     Technology Industry”
O-118     APP2990    Wired Article, “NYT: Venezuela E-Vote Connection”
O-119     APP2992    Smartmatic Video (LA County Voter Testimonials)
O-120     APP2993    08/02/2017 Miami Herald Article, “Venezuela election results were
                     manipulated, voting company says”
O-121     APP2998    Rudy Giuliani Biography
O-122     APP3003    licensedtolie.com Web Page
O-123     APP3013    Sidney Powell’s LinkedIn Profile
O-124     APP3020    DePerno Law Office, PLLC Web Page
O-125     APP3023    Matthew DePerno’s LinkedIn Profile
O-126     APP3028    Patrick Colbeck’s LinkedIn Profile
O-127     APP3036    shiva4president.com Web Page



                                           12
    Case 1:21-cv-02900-CJN Document 136-3 Filed 12/09/23 Page 13 of 13




           App.
Exhibit                                           Description
          Page No.
O-128     APP3040    Mary Fanning Bio Page
O-129     APP3042    tkassociatesllc.com Web Page
O-130     APP3044    Terry Turchie’s LinkedIn Profile
O-131     APP3051    Steve Bannon Biography
O-132     APP3058    digenovatoensing.com Web Page
O-133     APP3066    Thomas Fitton’s Bio Page
O-134     APP3069    Phil Waldron’s LinkedIn Profile
O-135     APP3072    january6th-benniethompson.house.gov Web Page
O-136     APP3076    12/16/2021 Press Release, “Select Committee Subpoenas James P.
                     ‘Phil’ Waldron”
O-137     APP3078    Russell Ramsland’s LinkedIn Profile
O-138     APP3080    irvingrepublicanwomen.com Web Page
O-139     APP3084    Thomas G. McInerney’s Bio Page
O-140     APP3087    Clay Clark’s Bio Page
O-141     APP3092    Michael Johns’s LinkedIn Profile
O-142     APP3110    Keith Trippie’s Bio Page
O-143     APP3116    Allan Santos’s LinkedIn Profile
O-144     APP3119    Kyle Becker’s LinkedIn Profile
O-145     APP3124    Evi Kokalari’s Bio Page
O-146     APP3128    Michael Waller’s Bio Page
O-147     APP3132    Michael Waller’s LinkedIn Profile
O-148     APP3137    05/27/2020 Washington Post Article, “Is the MyPillow guy the future of
                     the Republican Party, or is he just dreaming?”
O-149     APP3142    Cory Mills’s Bio Page
O-150     APP3145    Chris Farrell’s Bio Page




                                             13
